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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            WESTERN DIVISION

National Institute of Family and Life     )
Advocates, et al.,                        )
                                          )
      Plaintiffs,                         )
                                          )
v.                                        ) No. 16 CV 50310
                                          )
Mario Treto Jr.,                          )
                                          )
      Defendant.                          )
__________________________________________)
Ronald Schroeder, et al.,                 )
                                          )
      Plaintiffs,                         )
                                          )
v.                                        ) No. 17 CV 4663
                                          )
Mario Treto Jr.,                          )
                                          )
      Defendant.                          )

                           MEMORANDUM OF DECISION

       This Memorandum of Decision contains the Court’s findings of fact and

conclusions of law under Rule 52(a).          The Court will separately enter Rule 58

judgment orders in each case. 1 The Court concludes that Public Act 99-690 Section

6.1(1), in exchange for a liability shield, compels speech, requiring a discussion about

the risks and benefits of childbirth and abortion. That compelled discussion violates

the First Amendment. Section 6.1(1) isn’t a doctrinally qualifying informed consent


1 The Court thanks counsel for all the Parties for their work in these cases.Without doubt,
the subject matter of this litigation can result in intemperate language and behavior. But
throughout the Court’s involvement with this case, counsel have been courteous and
professional among themselves and with the Court. What’s more, the Court appreciates the
quality of the presentations and filings by all counsel. Thank you. X
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statute, and the compelled speech isn’t “incidental” to conduct. However, unlike

Section 6.1(1), Section 6.1(3) doesn’t compel speech. Instead, Section 6.1(3) merely

regulates professional conduct, instructing clinicians, upon request, to either refer or

transfer a patient to another physician, or at least provide her with a list of potential

providers. These types of conduct regulations don’t implicate the First Amendment’s

Speech clause. And because Section 6.1(3) returns conscientious objectors to their

earlier, generally applicable liability exposure, it doesn’t violate the Free Exercise

Clause either. So, the Court finds Section 6.1(3) constitutional. Constitutionally, to

obtain the liability shield, the State can’t require medical professionals to discuss

with patients what the State believes are the benefits of abortions; however, if

patients request abortions, at a minimum, the State can require medical

professionals to provide information of other medical professionals whom they

reasonably believe might perform abortions.

INTRODUCTION
       Before launching into the legal analysis, the Court is compelled underscore the

narrow legal and factual issues in this case.

       First, as described in more detail later, the legislative evidence presented to

the Illinois General Assembly in support of Public Act 99-690 2 was underwhelming.

Nevertheless, in its wisdom, the State of Illinois sought to address a perceived




2 A note on citations: As discussed shortly, Public Act 99-690 amended the Health Care

Right of Conscience Act (“HCRCA”). Public Act 99-690 encompasses Section 6.1(1) and
6.1(3). When the Court refers to the amendment generally, it uses “Public Act 99-690.” It
otherwise identifies the particular section (e.g. 6.1(1) or 6.1(3)) at issue. Citations to the
Illinois Code (ILCS) refer to the HCRCA.
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problem, which it has every right to do in support of the public’s health, safety, and

welfare. It is not this Court’s role to judge the wisdom of a public act. Instead, the

Court’s limited function is to determine whether Public Act 99-690 is constitutional,

in whole or in part.

      Second, a preliminary injunction enjoining enforcement of Public Act 99-690

has been in place for nearly a decade. Despite the General Assembly’s determinations

and the State’s assertions that—absent Public Act 99-690—the health of women was

in grave peril, no evidence has been presented to this Court that supports that

concern. Dkt. 48 at 26–27. Despite extensive summary judgment briefing and a

three-day bench trial, no evidence was presented showing that a single woman’s

health was compromised because Public Act 99-690 was enjoined.

      Third, the lack of this evidence should not be surprising. Public Act 99-690

amended the HCRCA to limit its use as an affirmative defense in civil and criminal

proceedings. This factual scenario is highly unusual and rarely (if ever) occurs.

Indeed, the Parties cited no instances in which this aspect of the HCRCA has been

litigated, and the Court was unable to find a single reported case involving this aspect

of the HCRCA.

      Fourth, the lack of evidence of women’s health being imperiled but for Public

Act 99-690 is unsurprising because the HCRCA provides no protections for health

care professionals who fail to treat emergencies. 745 ILCS 70/6 (“Nothing in this Act

shall be construed so as to relieve a physician or other health care personnel from

obligations under the law of providing emergency medical care.”); 745 ILCS 70/9



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(“Nothing in this Act shall be construed so as to relieve a physician, health care

personnel, or a health care facility from obligations under the law of providing

emergency medical care.”). Health care professionals who fail to treat pregnant

women in a medical emergency find no quarter in the HCRCA, regardless of the

amendments contained in Public Act 99-690.

         None of the foregoing should be interpreted as minimizing the constitutional

issues at stake in this litigation, the role of the State to address perceived concerns

about public health, safety, and welfare, or a woman’s access to medical care. Instead,

the Court notes that its decision is cabined to the statutory scheme at issue and the

HCRCA and its subsequent amendments.

I.       BACKGROUND

         A.       Parties

         This case involves two sets of plaintiffs: the National Institute of Family and

Life Advocates (“NIFLA”) Plaintiffs and the Schroeder Plaintiffs.              NIFLA is a

religious organization comprised of member pregnancy centers from across the

country. NIFLA dkt. 275-2. ¶ 1. 3 The NIFLA Plaintiffs also include three individual

Illinois pregnancy centers.       Id.   The Schroeder Plaintiffs include Dr. Ronald

Schroeder, the volunteer medical director at Options-Now/Thrive Metro-East, as well

as two other pregnancy centers. Schroeder dkt. 236-1 ¶ 1. 4




3 The Court cites 16-cv-50310 as “NIFLA” and 17-cv-04663 as “Schroeder.”
4 For this decision’s purposes, the two sets of Plaintiffs and the Pregnancy Centers’ work

are essentially identical. So, unless otherwise noted, the Court simply refers to them as
“Plaintiffs,” and assumes they’re all engaged in the same activities.
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       Defendant is the Director of the Illinois Department of Financial and

Professional Regulation.      The action is brought against that individual in the

individual’s official capacity. The current Director—and therefore, Defendant—is

Mario Treto Jr. Rather than call out the latest person to hold this office, the Court

will simply refer to the Defendant as “the State.” The Court is mindful that some

adherents of the Eleventh Amendment might be shocked at this approach. But they’ll

get over it. It’s just a label for purposes of this decision.

       B.        The Health Care Right of Conscience Act (HCRCA)

       As the Court previously mentioned, Public Act 99-690 purports to amend the

HCRCA. Since its enactment in 1977, the HCRCA has addressed many issues,

including prohibiting discrimination and providing a right of action if discrimination

occurs. Relevant to this action, the HCRCA provides an affirmative defense against

civil and criminal liability. 745 ILCS 70/4, 70/9. Section 4 of the HCRCA contains

one of the affirmative defenses:

              No physician or health care personnel shall be civilly or
              criminally liable to any person, estate, public or private
              entity or public official by reason of his or her refusal to
              perform, assist, counsel, suggest, recommend, refer or
              participate in any way in any particular form of health care
              service which is contrary to the conscience of such
              physician or health care personnel. 745 ILCS 70/4.

       Section 9 of the HCRCA contains the other provision providing a defense:

              No person, association, or corporation, which owns,
              operates, supervises, or manages a health care facility
              shall be civilly or criminally liable to any person, estate, or
              public or private entity by reason of refusal of the health
              care facility to permit or provide any particular form of
              health care service which violates the facility’s conscience
              as documented in its ethical guidelines, mission statement,
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             constitution, bylaws, articles of incorporation, regulations,
             or other governing documents. 745 ILCS 70/9.

      In 2016, the General Assembly held hearings regarding the HCRCA because

of concerns raised by Illinois residents regarding their health care treatment.

      C.        Legislative History of Amendments to the HCRCA

      Relating to the issues raised in this case, the legislative support for Public Act

99-690 was sparce. Only two examples have been identified. First, there appear to

be two letters from an anesthesiologist who refused to provide his services when

abortions were performed.     Second, there was heartbreaking testimony from a

witness about her treatment during a pregnancy that was not viable. But nothing in

the challenged provisions (what would become Section 6.1(1) and Section 6.1(3))

would have remedied any of problems highlighted by these two examples, because

Public Act 99-690 neither requires conscientious objectors to personally perform

abortion services nor excuses them from facilitating emergency treatment.

      Following these hearings, by way of Public Act 99-690, Illinois amended the

HCRCA in several ways. First, Illinois added a provision identifying the public policy

for the HCRCA and presumably the amendments to the HCRCA. According to the

amendments, “[i]t is also the public policy of the State of Illinois to ensure that

patients receive timely access to information and medically appropriate care.”

Second, the amendments added the definition of “undue delay,” which “means

unreasonable delay that causes impairment of the patient’s health.”          Third, the

amendments added to the list of duties of medical “practices and care” not relieved

by the immunity provided by the HCRCA, specifically identifying the duty to inform

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patients of “legal treatment options” and “benefits of treatment options.” Fourth, the

amendments to the HCRCA made two significant additions—one entitled “access to

care and information protocols” and the other entitled “permissible acts related to

access to care and information protocols.” Access to care and information protocols

are the important parts.

      The amendments adding the protocols provision to Section 6.1 are the crux of

this litigation. Section 6.1 requires all health care facilities to adopt protocols that

allegedly would ensure that conscience-based objections did not impair patients’

health. Critically, the affirmative defenses contained in Section 4 and Section 9 of

the HCRCA “only apply if conscience-based refusals occur in accordance with these

protocols.” The consequence being that for physicians, health care personnel, and

persons, associations, or corporations that own, operate, supervise, or manage a

health care facility to receive the benefits of the affirmative defense, they are forced

to comply with the requirements of Public Act 99-690. Their conscience-based actions

are unprotected unless they comply with Illinois’ mandates in Public Act 99-690,

which require physicians to “inform,” “give[] information” to, “refer,” or “transfer”

patients when they are unable to act or provide information to a patient because of a

“conscience-based objection.”

      To obtain the immunity protections, the protocols minimally need to address

the requirements of Section 6.1(1) and Section 6.1(3). The Plaintiffs challenge both

provisions. Under Section 6.1(1), health care facilities, physicians, and health care

personnel are mandated to inform a patient of, among other things, “legal treatment



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options, and the risks and benefits of the treatment options in a timely manner.”

Under Section 6.1(3), if requested by a patient or a patient’s representative, health

care facilities, physicians, and health care personnel must take one of three actions:

(a) refer the patient, (b) transfer the patient, or (c) provide written information about

other health care providers who they reasonably believe may offer the service that

the facility, physician, or personnel can’t provide because of a conscience-based

objection. Note a critical difference between Section 6.1(1) and Section 6.1(3): the

former mandates speech regardless of anything else; whereas, the latter requires

actions when prompted by a patient.

      The amendment regarding “permissible acts” allows a health care facility to

require physicians and health care personnel working at the facility to comply with

the protocols. In full, this amendment states, “[n]othing in this Act shall be construed

to prevent a health care facility from requiring that physicians or health care

personnel working in the facility comply with access to care and information protocols

that comply with the provisions of this Act.” 745 ILCS 70/6.2.

      Fifth, as to liability, the HCRCA’s amendments added that a health care

facility is not relieved from providing emergency medical care under the HCRCA.

Stated differently, the HCRCA—which is an immunity statute—explicitly doesn’t

provide any immunity when physicians, health care personnel, or health care

facilities fail to meet their legal obligations to provide emergency medical care. 745

ILCS 70/9.




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      D.        Procedural History of the Litigation

      This litigation started in 2016, when the NIFLA Plaintiffs filed an action in

this Court. The Schroeder Plaintiffs then filed an action in the Eastern Division of

the Northern District of Illinois, which was consolidated with the NIFLA action in

this Court. On July 19, 2017, then-Judge Fredrick Kapala entered a preliminary

injunction, enjoining the State from enforcing Public Act 99-690.

      On December 15, 2017, based on an unopposed motion, the Court stayed both

actions pending the Supreme Court’s ruling in Nat’l Inst. of Fam. & Life Advocs. v.

Becerra, 585 U.S. 755 (2018). Following the Supreme Court’s decision, the Plaintiffs

asserted that the decision supported their position and the preliminary injunction.

The State asserted that Becerra “provided some guidance” but was not “dispositive.”

      After then-Judge Kapala took inactive status, the actions were assigned to

then-Chief Judge Rebecca Pallmeyer. The Plaintiffs moved for summary judgment,

seeking permanent injunctive relief. They contended that Public Act 99-690 violated

their rights to free speech and to free exercise of religion under the First Amendment.

On September 3, 2020, Judge Pallmeyer denied the summary judgment motions,

concluding that “genuine disputes of material facts remain[ed].” Dkt. 176. In doing

so, Judge Pallmeyer found “that expert discovery about the standard of care [was]

necessary before the court [could]” resolve the litigation. Dkt. 176 at 36.

      Following Judge Pallmeyer’s ruling on summary judgment, three events

occurred. First, the undersigned was confirmed by the United States Senate and

received a commission, resulting in these actions being transferred. Second, the



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Parties engaged in expert discovery per Judge Pallmeyer’s order. Third, following

expert discovery, the Court held a three-day bench trial.

II.   FACTUAL FINDINGS

      A.        Pregnancy Centers’ Work

      Pregnancy Centers (“Pregnancy Centers”) are pro-life clinics that will not

perform or refer for an abortion. NIFLA dkt. 282-1 ¶ 23. The Pregnancy Centers

generally offer free ultrasounds, pregnancy testing, STI testing and treatment. See

NIFLA dkt. 275-2 ¶¶ 2–15. At least one Pregnancy Center offers “abortion pill

reversals.” Id. ¶ 5. The Pregnancy Centers also provide material assistance to

pregnant women and engage in “pregnancy options” and “post-abortion” counseling.

Id. That counseling includes discussion about the risks of abortion, but it doesn’t

include a benefits discussion, because the Pregnancy Centers don’t believe any

benefits exist. Id.; NIFLA dkt. 282-1 ¶¶ 31–32. They further believe that counseling

about abortion benefits would encourage the procedure. Id. ¶ 33. The Pregnancy

Centers “rely on the visuals of the ultrasound itself and the health care provider’s

diagnoses to try to convince pregnant patients to carry to term and not have an

abortion.” Id. ¶ 20. The Parties dispute the extent to which the Pregnancy Centers

engage in “medical conduct.”

      B.        Standard of Care and Informed Consent

      On summary judgment, Judge Pallmeyer applied intermediate scrutiny and

identified an unresolved factual question: whether Public Act 99-690 “burden[ed]

more speech than necessary” and whether secular doctors, upon request, generally



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transferred, referred, or provided alternative resources. NIFLA dkt. 176 at 23. The

State said Public Act 99-690 wasn’t overly burdensome because the “standard of care”

already required all doctors to discuss a treatment option’s benefits and risks. Id. at

24. So, the State argued, Public Act 99-690 merely imposed that same standard on

the Plaintiffs. Id. The Plaintiffs disagreed, claiming that the “standard of care” didn’t

universally require these types of discussions. Id. So, the Plaintiffs contended Public

Act 99-690 was underinclusive, applying only to conscientious objectors. Id. Judge

Pallmeyer ordered a trial to determine what the “standard of care” required.

      As discussed later, the Court analyzes the legal issues differently, in a way

that turns less on the “standard of care” question. Regardless, a three-day bench trial

demonstrated only that, in the abstract, there’s no single administrable definition of

the standard of care. During that trial, the Parties also discussed “informed consent.”

Those two issues—standard of care and informed consent—intertwine with one

another. However, for later analytical purposes, the Court discusses them separately.

All Parties relied on credible and persuasive opinion witnesses. And all Parties agree

that any medical organizations pronouncements are only nonmandatory guidelines.

NIFLA dkt. 275-2 ¶ 34.

                    Standard of Care

      The trial testimony was, by and large, consistent with the Parties’ briefing:

The State argued that Public Act 99-690 simply repeats the professional standards

that already bind all health care professionals, while the Plaintiffs argued that the

pre-existing standard of care doesn’t require a so-called benefits discussion. NIFLA



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dkt. 275 at 22; dkt. 271 at 4–8. According to all Parties’ retained experts, medical

standards of care turn on individualized assessments of a patient’s needs, including

a woman’s medical history, mental health, spirituality, stated goals and expectations,

reaction to her pregnancy, the providers’ own abilities and expertise, and other

factual inquiries. See e.g., Trial Tr. 600:5–13; 629:13–630:21; Trial Tr. 61:6–62:25;

compare Trial Tr. 431:21–432:9 (Dr. Fernandes encouraging physicians to balance a

patient’s wishes against other factors) with id. at 587:1–25 (Dr. Burcher suggesting

patient autonomy is the preeminent principle in modern bioethics). This testimony

is unsurprising. Under Illinois law, standard of care depends on the specific factual

circumstances presented to the health care professional. Edelin v. Westlake Comm.

Hosp., 510 N.E.2d 957, 962 (Ill. App. Ct. 1987). Indeed, Illinois juries are instructed

to this effect. Illinois Pattern Jury Instructions, Civil, No. 105.00 (2020). This highly

fact-specific inquiry is incompatible with requiring a doctor to discuss so-called

benefits with every patient—largely because the State never presented evidence that

every pregnant woman needs the “thorough[]” discussion that the State tries to

impose. NIFLA dkt. 275-1 ¶¶ 90–110.

       The State argued that professional organizations create ethical standards of

care that encourage health care professionals to provide neutral options counseling

and requested abortion referrals. NIFLA dkt. 275 at 5–6. But those standards aren’t

binding. Trial Tr. 316:8–10; NIFLA dkt. 275-1 ¶¶ 75–78, 106–09. 5 In an amicus brief

before the Court, the American College of Obstetrics and Gynecology (“ACOG”) cites


5 Like the Pirate’s Code, trial testimony established that these standards are more what

you’d call “guidelines” than actual rules. https://www.youtube.com/watch?v=WJVBvvS57j0.
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its own Code of Professional Ethics, stating that obstetrician-gynecologists must

discuss the “risks, benefits, possible complications, and anticipated results” of

terminating a pregnancy, and the American Medical Association (“AMA”) statement

that health care providers “should” present accurate information about “the burdens,

risks, and expected benefits of all options.” NIFLA dkt. 279 at 3. As the experts

testified at trial, ACOG and AMA standards for discussing abortion make no sense

when a patient is thrilled to learn of her pregnancy and no reasonable concerns exist

for the patient to continue with the pregnancy. Trial Tr. 168:8–13, 629:18–630:2.

And, not surprisingly, given the contentious nature of elective abortion, other

professional groups have conflicting opinions. See Trial Tr. 473:15–475:23. So, all

the evidence shows is that the standard of care doesn’t require a binding, uniform

benefits discussion.

                       Informed Consent

       The Court’s best efforts to define “informed consent” were similarly futile. The

Parties disagree on the medical definition of “informed consent.” According to the

Plaintiffs, a doctor’s ethical obligations to a specific patient “arise out of the nature of

the doctor–patient relationship . . . specifically what has that patient come to the

physician for and what is the physician offering to the patient.” NIFLA dkt. 271-1 ¶

28. Accordingly, “[i]nformed consent is the responsibility of the physician who will

provide the treatment for which consent is sought, not the referring physician or any

other physician.” Id. ¶ 29. So, according to the Plaintiffs, “a physician need not

discuss the risks and benefits of treatments like abortion that they do not personally

provide.” Id. ¶ 30.

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      The State takes a different view. According to the State, “[i]nformed consent

is not limited to seeking authorization for an imminent medical procedure.” NIFLA

dkt. 275-1 ¶ 107. Instead, informed consent can “apply to counseling both about a

specific medical intervention by a health care provider or more broadly about

different relevant medical options available to a patient, because both involve

choosing a treatment option or a plan of care.” Id. ¶ 108. So, “[h]ealth care personnel

are obligated to advise patients of risks and benefits of relevant procedures and

treatment options, even if those treatments are not available at that particular

medical facility.” Id. ¶ 109. According to the State, proper medical care then requires

“medical options counseling,” in which providers “present[] patients with medically

appropriate treatment options for their condition and the risks and benefits of those

options.” Id. ¶ 96. Again, this view makes no sense if the patient is thrilled to learn

of the pregnancy and no reasonable medical concerns exist for the patient to continue

the pregnancy.

      As with the standard of care issue, the witnesses drew their definitions from

competing ethical and moral principles. For example, the State says the “central

approach to biomedical ethics is the ‘principalist theory,’” which emphasizes

“autonomy, beneficence, nonmaleficence, and justice.” Id. ¶ 66. But the Plaintiffs

stress that some medical professionals—and organizations—adhere to other ethical

regimes that balance values differently. Schroeder dkt. 236-1 ¶¶ 61–78. So, the

Court can’t define, in the abstract, a binding, universal definition of “informed

consent.”



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III.     CONCLUSIONS OF LAW

         The Court now addresses the legal questions. It first considers whether either

Section 6.1(1) or Section 6.1(3) violates the First Amendment’s Free Speech Clause. 6

If warranted, the Court also considers whether either Section violates the Free

Exercise Clause. In making these assessments, this Court recognizes that “[w]here

fairly    possibl[e],   [it]   should   construe   a   statute   to   avoid   a   danger   of

unconstitutionality.” Zbaraz v. Madigan, 572 F.3d 370, 383 (7th Cir. 2009) (citations

omitted); see Rescue Army v. Mun. Ct., 331 U.S. 549, 568–74 (1947). Further, in

addressing the constitutionality of a state statute, a federal court may not formulate

a rule of constitutional law broader than is required by the precise facts to which is

to be applied. United States v. Raines, 362 U.S. 17, 21 (1960). And, if a federal court

is required to grant injunctive relief, the relief should be no more burdensome than

necessary. Califano v. Yamasaki, 442 U.S. 682, 702 (1979). Injunctive relief must be

tailored to the scope of the violation and the specific harm established. DraftKings

Inc. v. Hermalyn, 118 F. 4th 416, 423 (1st Cir. 2024); e360 Insight v. Spamhaus

Project, 500 F.3d 594, 604 (7th Cir. 2007).

Unconstitutional Conditions

         The Plaintiffs argue that Public Act 99-690 imposes unconstitutional

conditions on the receipt of a public benefit. Importantly, a state cannot condition

the receipt of a public benefit—such as a liability shield—on a citizen surrendering

their constitutional rights. See Elrod v. Burns, 427 U.S. 347, 361 (1976) (plurality


6
 The Court only addresses Sections 6.1(1) and (3), because the others aren’t contested. See
NIFLA dkt. 275 at 9. Section 6.1(2) is not mentioned. Id.
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opinion); Libertarian Party of Ind. v. Packard, 741 F.2d 981, 988 (7th Cir. 1984)

(“What a government cannot compel, it should not be able to coerce.”). So, the

unconstitutional conditions doctrine is a theory of First Amendment liability, not a

claim in itself. As discussed more in the Free Exercise section, Public Act 99-690

offers a benefit, namely a liability shield. In making that offer, however, the State

can’t demand a constitutional violation. So, the threshold question is whether each

Section violates the constitution.

First Amendment Free Speech Claim

       The First Amendment, applicable to the states through the Fourteenth,

prohibits laws “abridging the freedom of speech.” U.S. Const. amend. I; Becerra, 585

U.S. at766. In any challenge to government action that allegedly violates the First

Amendment, the first step is to determine whether a particular state-action provision

regulates speech (implicating the First Amendment) or conduct (not entitled to First

Amendment protections). 7 Next, if the state action regulates speech based on its

content, the court applies strict scrutiny, unless a doctrinal exception pulls the state

action to a lesser tier of scrutiny. The First Amendment protects both the “right to

speak freely and the right to refrain from speaking at all.” Wooley v. Maynard, 430

U.S. 705, 714 (1977). The Court analyzes Sections 6.1(1) and 6.1(3) in turn.




7 Just as Everlast explained in What It’s Like, see https://genius.com/Everlast-what-its-like-

lyrics, where a court starts its analysis—by concluding that the state action regulates
speech or regulates conduct—is essentially dispositive. See Dana’s R.R. v. AG, 807 F.3d
1235, 1242 (11th Cir. 2015) (describing speech conduct determination as being
determinative).
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      A.         Section 6.1(1)

      The Supreme Court’s precedents have “long drawn a line” between speech and

conduct.    Becerra, 585 U.S. at 769 (collecting cases).            Although, in some

circumstances, that line might be “difficult” to draw, id., Section 6.1(1) falls on the

speech side. The provision demands that health care providers “inform” patients

about the risks and benefits associated with their treatment options. § 1 (emphasis

added). And the State imagines a “thorough discuss[ion]” between the health care

provider and the patient. NIFLA dkt. 275-1 ¶¶ 90–110 (terming the discussion

“counseling”). 8 So, Section 6.1(1) regulates speech, implicating the First Amendment.


      Next, the Court considers whether Section 6.1(1) is content-based or content-

neutral. Content-based state actions “target speech based on its communicative

content.” Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015). A statute alters the

content of a speaker’s speech by compelling individuals to speak a particular message

or share particular pieces of information. Becerra, 585 U.S. at 755 (2018).


      Section 6.1(1) is a content-based regulation because it governs a health care

provider’s discussion on pregnancy and abortion.         The state action is especially

suspect because it’s also view-point discriminatory. Nat’l Inst. of Fam. & Life Advocs.

v. Raoul, 685 F. Supp. 3d 688, 704 (N.D. Ill. 2023) (citing Rosenberger, 515 U.S. 819

(1995) (“When the government targets not subject matter, but particular views taken

by speakers on a subject, the violation of the First Amendment is all the more




8 The Court discusses below whether counseling can be considered “conduct.”


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blatant.”). The Plaintiffs contend that abortion confers no medical benefits. NIFLA

dkt. 271-1 ¶ 18; Schroeder dkt. 236-1 ¶ 41. It is important to note that the Plaintiffs’

definition of abortion basically only encompasses elective abortions (which seems to

mean all abortions where there’s a viable fetus). Schroeder dkt. 236-1 ¶ 38. For

example, the Plaintiffs don’t argue that terminating an ectopic pregnancy is an

“abortion” as they define the term. See Trial Tr. 52:20–53:4. This view is consistent—

albeit perhaps for different reasons—with the fact that even the medical profession

doesn’t consider terminating an ectopic pregnancy to be an “abortion.” See Procedural

Abortion, UptoDate.com (Feb. 2025) (“[W]hen a trained health care provider does a

procedure to remove the pregnancy from [a] uterus.”) (emphasis added). This limited

definition of abortion is at least somewhat consistent with the Act, which doesn’t

provide immunity when health care professionals fail to act in an emergency. 745

ILCS 70/9.


      The State disagrees with the Plaintiffs, believing that an abortion (however it

is defined) is beneficial in certain circumstances. Whether the State or the Plaintiffs

are correct, however, doesn’t factor into this constitutional analysis. In demanding

that health care professionals discuss the benefits (and thereby concede to the State’s

view), the State makes the providers “instruments” in delivering a particular

message.     DeBoer v. Village of Oak Park, 267 F.3d 558, 572 (7th Cir. 2001)

(quoting Wooley v. Maynard, 430 U.S. 705, 715 (1977)).


      Ordinarily, the First Amendment bars a state from commanding this type of

speech, unless it survives strict scrutiny. This level of scrutiny requires the state to

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identify a compelling interest and narrowly tailored means to achieve it. The State

says it’s entitled to deferential treatment in this case because Section 6.1(1) targets

professional conduct and only incidentally implicates speech. The Plaintiffs disagree,

arguing that Section 6.1(1) unconstitutionally compels speech. To determine whether

Section 6.1(1) receives deferential treatment, the Court considers two First

Amendment doctrines: (a) the Zauderer commercial speech and (b) the “speech

incidental to conduct” exceptions.

                    a)      Zauderer Commercial Speech

      In limited, narrow circumstances, the government has leeway to regulate

speech relating to professional activities. Zauderer v. Off. of Disciplinary Couns. of

Sup. Ct. of Ohio, 471 U.S. 626 (1985); Hurley v. Irish-American Gay, Lesbian &

Bisexual Grp. of Boston, Inc., 515 U.S. 557, 573 (1995). The Zauderer exception

applies only to “purely factual and uncontroversial information” in commercial

advertising. Becerra, 585 U.S. at 768–69; Hurley, 515 U.S. at 573.

      Zauderer’s narrow scope doesn’t apply to this case for three reasons. First,

none of the speech in this case is “commercial” speech. Generally, “[c]ommercial

speech is speech that proposes a commercial transaction.” Jordan v. Jewel Food

Stores, Inc., 743 F.3d 509, 517 (7th Cir. 2014) (citing Bd. of Trs. of State Univ. of N.Y.

v. Fox, 492 U.S. 469, 475 (1989); see also Commerce, BLACK’S LAW DICTIONARY (12th

ed. 2024) (defining commerce as the “exchange”—not the free provision—of “goods

and services”); In re Primus, 436 U.S. 412, 437–38 n. 32 (1978) (finding an attorney




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engaged in noncommercial speech by advertising free services intended to advance

“beliefs and ideas,” as opposed to financial gain).

      In this case, there’s no economic transaction: None of the Pregnancy Centers

charge for their services, so there’s no financial exchange. See NIFLA v. Raoul, 685

F. Supp. 3d 688, 705 (N.D. Ill. 2023) (This Court made the same conclusion involving

largely the same facts, because “there [was] no economic motivation for the speech.”).

Moreover, “abortion [is] anything but an ‘uncontroversial’ topic.” Becerra, 585 U.S. at

769. Ordinary life experiences support that conclusion: Try talking about abortion

in public amongst strangers and see what reaction it spawns. Third, as discussed

more below, the information Public Act 99-690 requires “in no way relates to the

services” that the Plaintiffs provide. See Becerra, 585 U.S. at 769. In Becerra, the

Supreme Court held that the compelled disclosures (information about abortion)

weren’t “commercial speech,” in part because the pregnancy centers didn’t provide

abortions. That’s the same in this case. The Plaintiffs don’t provide abortions, so the

State can’t rely on the Zauderer exception to compel speech about the procedure. So,

the commercial speech exception won’t shield the disclosures from heightened review.

                    b)     Speech Incidental to Conduct

      The First Amendment also permits a state to regulate conduct, even when

doing so incidentally burdens speech. Whether the regulation remains “incidental”

depends on how to read (and reconcile) Becerra and Planned Parenthood v. Casey,

505 U.S. 833 (1992) (overruled on other grounds by Dobbs v. Jackson Women’s Health

Org., 597 U.S. 215 (2022)). The Parties excise favorable sentences from one case while



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nearly ignoring the other. See e.g., NIFLA Plaintiffs’ Table of Authorities, dkt. 275

at 3 (citing Becerra “passim” and Casey once); the State’s Table of Authorities, dkt.

271 at 3, (citing Casey “passim” and Becerra twice). The Court also must examine

whether and to what extent the Seventh Circuit’s decision in Doe v. Rokita affects the

interpretation of those two cases.    54 F. 4th 518.      The Court is duty bound to

harmonize all three cases. United States v. Hansen, 929 F.3d 1238, 1254 (10th Cir.

2019) (“[W]e must endeavor to interpret our cases in a manner that permits them to

coexist harmoniously with overarching and controlling Supreme Court precedent and

with each other.”); Kimberly-Clark Corp. v. Fort Howard Paper Co., 772 F.2d 860 63

(Fed. Cir. 1985) (“Thus, statements in opinions of this court must be read

harmoniously with prior precedent, not in isolation.”).


      In Casey, abortion-provider plaintiffs challenged Pennsylvania’s law requiring

them to provide patients with certain information before performing an abortion. 505

U.S. at 880. Specifically, the law required the physician to discuss the “nature of the

procedure, the health risks of the abortion and of childbirth, and the probable

gestational age of the unborn child.” Id. at 881. Further, the law required the

physician to note the availability of state-published materials on child-support

assistance, adoption agencies, and other abortion alternatives. Id.


      The Casey plurality didn’t evaluate the Pennsylvania law under heightened

review. Id. Instead, the plurality termed the mandated disclosures an “informed

consent requirement.”     Id.   It suggested that a state doesn’t violate the First

Amendment when it requires a doctor to provide “truthful, nonmisleading

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information about the nature of [a] procedure.” Id. at 882. Though such requirements

implicated the doctor’s right not to speak, they did so “only as part of the practice of

medicine, subject to reasonable licensing and regulation by the State.” Id.


      The State is correct that Casey’s language gives it some constitutional leeway

to enact Section 6.1(1). But the Casey decision doesn’t stand in isolation. Both the

Supreme Court and the Seventh Circuit had more to say.


      In Becerra, the Supreme Court considered a California statute that required

certain pro-life pregnancy centers to display a state-drafted notice regarding abortion

availability. Becerra, 585 U.S. at 763. The notice had to be “posted in the waiting

room, printed and distributed to all clients, or provided digitally at check-in.” Id.


      Rejecting a so-called “professional speech” First Amendment exception, the

Supreme Court held that “speech is not unprotected merely because it is uttered by

professionals.’” Id. at 766. Citing Casey, the Court acknowledged that “States may

regulate professional conduct, even though that conduct incidentally involves

speech.” Id. at 769. In doing so, Becerra immediately categorized the action at issue

in Casey as more akin to conduct, rather than speech. Moving forward, the Supreme

Court then held Casey’s lower standard didn’t apply to the California statute.

Instead, according to the Becerra Court, the law “regulate[d] speech as speech.” Id.

at 770. The Becerra Court reasoned that the Pennsylvania statute in Casey was an

“informed consent” law; whereas, the California statute was “neither an informed

consent requirement nor any other regulation of professional conduct.” Id.



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       Although it didn’t overrule Casey, Becerra’s dicta revealed the Court’s dim view

of compelled speech, even when it occurs in a medical context. “Doctors help patients

make deeply personal decisions, and their candor is crucial,” the Court said. Id. at

771 (citations omitted). And “[t]hroughout history, ‘governments have ‘manipulated

the content of doctor-patient discourse’ to increase state power and suppress

minorities.” Id. (citations omitted). “Doctors and nurses might disagree about the

ethics of assisted suicide or the benefits of medical marijuana . . . [but] the people lose

when government is the one deciding which ideas should prevail.” Id. at 772.


                                           ***


       The Court detours here to discuss “informed consent,” for purposes of Becerra’s

“speech incidental to conduct.” Becerra, Casey, Rokita, and other abortion-related

cases refer to informed consent. And, as the Parties recognize, this loaded term of art

does a decisive amount of work: If a disclosure fits within an “informed consent”

statute, Becerra deemed it “incidental to professional conduct,” and thereby immune

from heightened review.      Indeed, post-Becerra, if a disclosure isn’t an informed

consent statute, few avenues permit deferential review. But see Rokita infra. Yet,

there’s apparently “no[] legal authority reciting the contours of ‘informed consent.’”

E.M.W. Women’s Surgical Ctr., P.S.C. v. Beshear, 920 F. 3d 421, 448 (6th Cir. 2019)

(Donald, J., dissenting).


       The Parties in this case offer conflicting definitions of informed consent. A

three-day trial devolved into disagreements about the competing ethical principles

underpinning medical practice and which values should be prioritized over others.

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See Trial Tr. 426–35; 603–10. To the extent the American Medical Association or

similar groups adopt a definition, the record demonstrates those are nonbinding

guidelines. NIFLA dkt. 275-2 ¶ 34. So, under these circumstances, the Court has two

options: examine legal precedent and derive a definition from that caselaw or choose

between competing experts and trade associations on an issue fraught with scientific,

moral, and philosophical controversy. Some judges take the latter approach, looking

to the normative medical definition promulgated by groups like AMA and ACOG. See

E.M.W., 920 F. 3d at 454–55. (6th Cir. 2019) (Donald, J., dissenting); Camnitz, 774

F.3d at 251–53. A court would then conclude that whatever falls within the medical

groups’ informed consent definition automatically meets Becerra’s “speech incidental

to conduct.”


      But there are significant problems with that approach, an approach this Court

refuses to take.   First, that process ultimately nullifies Becerra: “Speech isn’t

unprotected,” the Becerra Court held, “merely because it’s uttered by professionals.”

Yet if the State or professional groups could tuck the compelled speech under an

“informed consent” labeled shield, then they could routinely evade scrutiny. See

Becerra, at 755 (“[S]tate labels cannot be dispositive of [the] degree of First

Amendment Protection.” (cleaned up)). Further, that approach forces the Court to

decide what’s constitutional based on the normative, conventional perspectives. That

conflicts with the First Amendment’s entire purpose, aiming to protect “unpopular

ideas [and] information.” See Becerra, 585 U.S. at 773 (emphasis added).




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      More importantly, doctors and lawyers are talking past each other. Becerra

didn’t say “informed consent” status alone is a get-out-of-First-Amendment-free card.

Instead, Becerra held that such provisions are acceptable because they’re incidental

to professional conduct. Indeed, the Supreme Court pointed to the specific informed

consent provision at issue in Casey.     585 U.S. at 769–70.     So, the Court must

determine whether the medical definition of informed consent remains incidental to

conduct.   If the scope of the medical community’s definition captures protected

speech—i.e. amounts to more than an incidental burden—then it violates the First

Amendment. A court can’t abdicate its responsibility to determine constitutional

protections to trade associations.


      Ultimately, when medical experts disagree as to what constitutes “informed

consent,” the Court can’t pick a side. It’s not only unqualified do so, but, more

importantly, Becerra doesn’t care about the abstract definition. Instead, the Court

examines abortion-related cases to discern some of the contours of informed consent.

When “informed consent” meets those qualifications, it necessarily satisfies Becerra’s

“incidental to professional conduct.” The Court finds that “informed consent” is

incidental to conduct when it meets the following four minimum requirements.


      First, informed consent necessarily requires a “medical procedure.”          The

Becerra statute wasn’t an informed consent provision, because it wasn’t “tied to a

procedure at all,” instead applying to “all interactions between a covered facility and

its clients, regardless of whether a medical procedure is ever sought, offered or

performed.” Becerra, 585 U.S. at 756; see also Rokita, 54 F. 4th at 520 (noting that

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states may require “informed consent to risky procedures”). That’s also consistent

with the term “incidental to conduct.” If there’s not an identifiable procedure—i.e. no

conduct—then the informed consent can’t latch on to anything.


      Second, as the term suggests, an informed consent provision must “afford the

patient the ability to make an informed, intelligent decision regarding medical

treatment he is to receive,” including “the general nature of the contemplated

procedure, the risks involved, the prospects of success, the prognosis if the procedure

is not performed and alternative medical treatment.” Roberts v. Patel, 620 F. Supp.

323, 325 (N.D. Ill. 1985). Canterbury v. Spence, 464 F.2d 772, 781 (D.C. Cir. 1972)

(physicians generally must “warn the patient of any risks to his well-being which the

contemplated therapy may involve”).


      So, by definition, a disclosure only qualifies as an informed consent provision

if it occurs before a patient undergoes a medical procedure. See Patel, 620 F. Supp.

at 325 (“The doctrine of informed consent requires that prior to administering medical

treatment . . . .) (emphasis added); Becerra, 585 U.S. at 769 (noting that Casey

required “informed consent before they could perform an abortion.” (emphasis added);

Karlin v. Foust, 188 F.3d 446, 454 (7th Cir. 1999) (discussing informed consent before

a procedure); Stuart v. Camnitz, 774 F.3d 238, 252 (4th Cir. 2014) (“The informed

consent process typically involves a conversation between the patient . . . and the

physician . . . before the procedure begins.”). Both legal and medical dictionaries

agree on this fundamental principle of informed consent. Informed Consent, BLACK’S

LAW DICTIONARY (12th ed. 2024) (“A person’s agreement to allow something to

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happen, made with full knowledge of the risks involved and the alternatives.”);

Informed Consent, STEDMAN’S MED. DICTIONARY (“Voluntary agreement given by a

person . . . for participation in a . . . treatment regime . . . after being informed of the

purpose, methods, procedures, benefits, and risks.”).


       Third, to be incidental to conduct, the informed consent provision must

substantively relate to the impending medical procedure. In other words, a state

can’t throw whatever it wants into a compelled disclosure and label it informed

consent. Before surgery, the State can’t require a doctor to tell her patient that

ketchup should never be put on a hotdog. Courts have interpreted that requirement

broadly, allowing discussions of such things as adoption and parental support, Casey,

505 U.S. at 881, and descriptive ultrasounds, E.M.W., 920 F. 3d 421, 424. (6th Cir.

2019); but see Camnitz, 774 F.3d at 252 (holding such ultrasounds don’t fit within

informed consent). But in all those scenarios, the disclosures aimed to articulate the

factual “risks involved, the prospects of success, the prognosis if the procedure is not

performed and alternative medical treatment.” Patel, 620 F. Supp. 323, 325 (N.D. Ill.

1985). The relational requirement essentially tracks the “truthful, non-misleading

and relevant” standard articulated in E.M.W., 920 F.3d at 424. 9



9 The State argues that “truthful, non-misleading, and relevant” standard should govern

compelled disclosures, like Section 6.1(1). But the State skips a step. The E.M.W. court
had already concluded that the statute at issue was an informed consent provision. See 420
F.3d at 424 (“Even though an abortion-informed-consent law compels a doctor’s disclosure of
certain information, it should be upheld so long as the disclosures is truthful, non-
misleading, and relevant to an abortion.”) (emphasis added); id. at 429 (“[S]uch incidental
regulation includes mandated informed-consent requirements, provided that the
disclosures are truthful, non-misleading, and relevant.”). Moreover, the Court shares some


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      Fourth, doctrinally, an informed consent provision is incidental to conduct only

when it regulates the health care provider performing the identified medical

procedure. See Casey, 505 U.S. at 881–82 (explaining how the statute applied to the

doctor performing the abortion); A Woman’s Choice-East Side Women’s Clinic v.

Newman, 305 F.3d 684, 684–85 (discussing what the Court called an “informed

consent” statute that regulated the “physician who is to perform the abortion”)

(emphasis added); E.M.W., 920 F.3d at 424 (discussing what the court termed an

informed consent provision that “direct[ed] a doctor, prior to performing an

abortion”); Tex. Med. Providers Performing Abortion Servs. v. Lakey, 667 F.3d 570

(5th Cir. 2012) (same); Planned Parenthood Minnesota, North Dakota, South Dakota

v. Rounds, 530 F.3d 724 (8th Cir. 2008) (same). All of those cases are doctrinally

consistent with the goal of informed consent that a physician can’t operate on a person

without the patient’s permission. See Becerra, at 770 (citing Chloendorff v. Soc’y of

N.Y. Hosp., 105 N.E. 92, 93 (1914) (Cardozo, J.) (“[A] surgeon who performs an

operation without his patient’s consent commits an assault.”). That rationale only

carries weight when the operating physician obtains the patient’s consent for that

impending procedure.


      The State calls this an “invent[ed]” rule that imposes “a novel limitation” on

the State’s power. NIFLA dkt. 275 at 15. It’s true that neither Casey nor those other

cases said in exact words that a disclosure is only an informed consent provision when




of the E.M.W. dissent’s concern that Casey may have used that language in an undue
burden analysis, not a First Amendment one. Id. at 449.
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it’s regulating the procedure-providing doctor.       But those were the factual

circumstances. And cases must be read and their holdings interpreted in the factual

context presented to the court making the decision. See Pampered Chef v. Alexian,

804 F. Supp. 2d 765, 782 (N.D. Ill. 2011); MB Fin. Bank, N.A. v. Walker, 741 F. Supp.

2d 912, 919 (N.D. Ill. 2010).       Indeed, the Supreme Court found Becerra’s

counterfactual (i.e. a state compelling speech from someone not necessarily

performing the medical procedure) unconstitutional. What’s more, the State has

things backwards. The State cites no case that construes “informed consent” in this

type of expansive manner, one that applies “informed consent” to health care

providers who never offer the underlying-yet-to-occur procedure. Instead, the State

breaks doctrinal ground by pioneering a novel definition without authority. In doing

so, the State—not the Plaintiffs—are the inventors.


      The State notes that Casey required the operating physicians to inform women

about “subjects far beyond the health care they offered,” including paternal child

support and adoption. NIFLA dkt. 275 at 12. So, the State asserts, the physician

need not provide the triggering medical procedure. Id. But the State confuses the

necessary and sufficient conditions. If a doctor performs a medical procedure, then a

state may require an informed consent disclosure. The doctor must perform a medical

procedure for the state to constitutionally compel that disclosure. However, the

doctor doesn’t need to also perform the procedures (if any) contained within those

disclosures. For example, a state may compel a surgeon to inform a patient that




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surgery will consequentially require physical therapy, even though the surgeon

doesn’t offer physical therapy.


       The State proposes a broader definition of informed consent. It contends that

“[i]nformed consent is not limited to seeking authorization for an imminent medical

procedure.” NIFLA dkt. 275-1 ¶¶ 107–08. Instead, “[h]ealth care personnel are

obligated to advise patients of risks and benefits of relevant procedures and

treatment options, even if those treatments are not available at that particular

medical facility.” NIFLA dkt. 275-1 ¶¶107–08. The State derives that definition from

the AMA’s Code of Ethics and other professional bodies. See NIFLA dkt. 275-1 ¶¶

75–78, 106–09.       The State admits those ethical guidelines are “not binding

professional or legal standards, but they provide a normative set of guidelines within

the medical profession that health care professional consult to inform their practice.”

Id. 10 The State cites no case in which courts stretch informed consent to apply to

doctors who don’t perform the impending procedure. The Plaintiffs and their experts

disagree with the State, offering a definition similar to the Court’s definition. See

NIFLA dkt. 271 at 3 (“To qualify as an informed consent requirement, a law must be

tied to a medical procedure that the regulated parties perform.”).




10 To be clear, the Court doesn’t doubt that “informed consent” also prizes “patient

autonomy” and “self-determination.” Camnitz, 774 F.3d at 251; see also Canterbury v.
Spence, 464 F.2d 772, 787 (D.C. Cir. 1972) (emphasizing “patients right to self-decision” and
determination). But the doctrine still requires certain other predicates to be satisfied for
the term to qualify as “speech incidental to conduct.” Camnitz found that an ultrasound-
description requirement fell outside informed consent—essentially because it demanded too
much information—but the necessary elements discussed above still existed.
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       The State’s definition falls outside Becerra’s scope. Becerra carved out room

for informed consent provisions as incidental to conduct. But that’s because they

were nearly contemporaneous with and in furtherance of the underlying procedure.

“Incidental to conduct” is incompatible with a definition of informed consent that

would require doctors to discuss hypothetical medical procedures they won’t perform.


      So, to summarize: Doctrinally, a statute qualifies as an informed consent

provision—and therefore incidental to conduct—when it requires a health care

professional, before she performs a medical procedure, to discuss the nature or

consequences of the impending medical procedure.


                                        ***


      In medical cases, informed consent occupies most of the “speech incidental to

professional conduct” universe.    See Becerra, 885 U.S. at 768 (citing only two

examples: the informed consent statute in Casey and legal advertising regulations).

But Becerra leaves some room for non-informed consent qualifying statutes that are

nonetheless incidental to professional conduct.    See id. at 770 (noting that the

California statute was “not an informed consent requirement or any other regulation

of professional conduct.”). Rokita provides such an example.


      In Rokita, Indiana regulated the disposal of fetal remains. Specifically, the

state required abortion providers (but not women who kept the remains) to dispose

of the remains by either burial or cremation. 54 F. 4th 518, 519 (2022). The disposal

requirements didn’t apply to women who kept the remains themselves. Id. The


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provider could explain those options after the procedure, and the information didn’t

aim to inform her consent to a procedure; nor did Rokita call the statute an informed

consent provision. Two doctors sued, arguing that the First Amendment barred

Indiana from requiring them to ask the women to select an option: burial or

cremation. Id. at 520.


       In a brief decision, the Seventh Circuit held Indiana’s law constitutional. On

the one hand (and as the State highlights), the Rokita Court stressed that “states

may require medical providers to give truthful notices,” including disclosures that

enable “informed consent to risky procedures.” Id. Characterizing Becerra, Rokita

explained that although a “state may not enforce requirements disconnected from

medical care,” 11 the state could still demand that “medical professionals alert patients

to laws that affect medical choices.” Id. at 521. That precise language gives states

some latitude to demand certain speech, so long as that speech related to “medical

choices” or falls within “medical care.” But, as the Seventh Circuit has reminded

district courts, that sentence must be read in context, including in the context of the

facts of the case. Livingston v. Trustguard Ins., 558 Fed. Appx. 681, 683 (7th Cir.

2014) citing United States v. Costello, 663 F.3d 1040, 1044 (7th Cir. 2012). 12 The

Seventh Circuit’s reminder is critical because, as the Plaintiffs emphasize, later

language in Rokita limits its scope. Characterizing Becerra’s characterization of

Casey, Rokita held that “a state may require medical professionals to provide



11 This is the “ketchup on the hot dog” example the Court used previously.
12 For example, although Rokita used the phrase “risky procedures,” no risky procedures

were implicated under the challenged statute or facts of the case.
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information that facilitates patients’ choices directly linked to procedures that have

been or may be performed.” Rokita, 54 F.4th at 521.


      Reading Casey, Becerra, and Rokita together, the Court derives the following

rule: States may regulate the practice of medicine, but to the extent the regulation

implicates speech, to be constitutional, that speech must be “incidental to professional

conduct.” Becerra, 885 U.S. at 768. In the medical context, qualifying informed

consent provisions will occupy most of the “speech incidental to professional conduct”

universe. But Rokita makes clear that there’s still room for some other speech-

implicating conduct regulations, so long as the speech remains incidental to the

underlying conduct.

                             Application to Section 6.1(1)

      With that background, the Court now assesses Section 6.1(1). It first considers

whether the mandated disclosures are “informed consent” provisions, as earlier

defined. It then weighs whether the provisions are otherwise “incidental to conduct.”


      As discussed above, to secure a liability shield, Section 6.1(1) compels certain

speech; namely a discussion about a patient’s “condition, prognosis, legal treatment

options, and risks and benefits of the treatment options.” NIFLA dkt. 275-1 ¶ 100

(imagining a “thorough[] discuss[ion]” between the provider and the patient; id. ¶¶

90–110 (terming the discussion “counseling”).          As discussed, the mandated

disclosures don’t qualify as commercial speech.         So, the Court subjects it to

heightened scrutiny, unless the speech is only incidental to conduct.




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Informed Consent Analysis

      If the disclosures fall under the definition of informed consent, then the

Becerra, Casey, and Rokita decisions teach that the disclosures are necessarily

incidental to conduct and therefore don’t trigger strict scrutiny. Recall that a state

action doctrinally qualifies as an informed consent provision when it requires a health

care professional, before she performs a medical procedure, to discuss the nature or

consequences of the impending medical procedure. Under Section 6.1(1):


             “The health care facility, physician, or health care
             personnel shall inform a patient of the patient’s condition,
             prognosis, legal treatment options, and risks and benefits
             of the treatment options in a timely manner, consistent
             with current standards of medical practice or care.”

      The Pregnancy Centers engage in some medical-like conduct. They discuss

medical histories, maternal health, abortion, and childbirth. In some cases, they

administer STI and/or pregnancy tests as well as abortion pill reversals. And the

Pregnancy Centers also perform transvaginal and abdominal ultrasounds. None of

the Pregnancy Centers themselves perform abortions.


      Although the cases on informed consent don’t define a “medical procedure,”

under these facts, the Court is able to identify only two procedures from the list of

medical conduct that could possibly anchor an informed consent provision: (i)

sonogram/pregnancy test, and (ii) “medical options counseling.” The Court considers

whether either are qualifying “medical procedures,” and, if so, whether the

disclosures meet the other qualifications for informed consent.



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                            i)      Ultrasound

       The Pregnancy Centers perform abdominal and transvaginal ultrasounds and

conduct pregnancy tests. 13 In doing so, a woman is “assigned a medical professional,”

and brought to an ultrasound exam room. Tr. 361:12–22.              The Court finds these

exams to be “medical procedures.” And because it’s a qualifying medical procedure,

the State has leeway to require informed consent for these procedures.


       As applied to the Pregnancy Centers, the disclosure’s timing doesn’t fit the

informed consent definition. Section 6.1(1) kicks-in after the ultrasound procedure.

See Section 6.1(1) (the provider must inform the patient of her “condition, prognosis,

legal treatment options, and risks and benefits of the treatment options.”). 14 These

types of discussions could only occur following a pregnancy determination. But after

the ultrasound the woman is either “free to go,” Trial Tr. 97:13–16, or otherwise

discusses her pregnancy options with a nurse or patient advocate. Trial Tr. 155:17–

21.   At that point, the Pregnancy Centers don’t perform an impending medical

procedure, so there’s nothing that requires the patient’s informed consent.


       And it’s not just a timing issue.          There’s a relationship disconnect.      A

prototypical informed consent provision would pertain to the impending procedure’s




13 The Court identifies the ultrasound (as opposed to the urine test) as the underlying

procedure, because its more invasive nature permits a broader set of disclosures, which in
turn maximizes the likelihood that the disclosures are constitutional.
14 The Plaintiffs contend that the ultrasound doesn’t qualify as a medical “diagnosis.” But

the Court construes it as a diagnostic procedure for these purposes. It blinks reality to
assert that an ultrasound performed at a crisis pregnancy center is not performed to obtain
images for medical diagnostic purposes. Diagnostic ultrasound, STEDMAN’S MEDICAL
DICTIONARY (28th ed. 2006).
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(here an ultrasound) nature, risks, and benefits.        To that end, the medical

professional might need to inform a woman about the ultrasound’s benefits. For

example, the medical professional might need to inform the patient that the

ultrasound provides an image of the fetus; that it can determine a fetus’ age and

condition; or that it can identify risky health conditions.     And the health care

professional might also be compelled to disclose that an ultrasound requires

abdominal or vaginal contact; that less invasive procedures, like a urine test, can

accomplish some of the same goals; or that an image of a fetus will appear on screen

or that the woman may hear certain sounds. That type of information might inform

the woman’s decision as to whether to undergo the ultrasound procedure.


      But the compelled disclosures required by Section 6.1(1) (i.e. the risks and

benefits of abortion and childbirth) both occur after the ultrasound and substantively

don’t relate to that procedure. So, they don’t fit within the doctrinal understanding

of informed consent statutes.

                          (ii)   Medical Options Counseling

      The Court next considers whether the Pregnancy Centers’ “medical options

counseling” could qualify as a medical procedure that could anchor incidental

disclosures. The State groups much of the Pregnancy Centers’ activities together,

terming them “medical options counseling.” And the Plaintiffs admit they engage in

this type of counseling. Dkt. 282-1 at 16. The Court understands that to essentially

mean a discussion regarding pregnancy status (pregnant or not pregnant) and a

woman’s associated options (if pregnant, then childbirth or abortion). If all of that


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counseling itself is a “medical procedure,” then the State could regulate that

conversation under the theory that the discussion is actually conduct. Put simply,

the speech itself is treatment, which would be conduct. Under that kind of reading,

the Court wouldn’t even need to consider whether particular speech was “incidental”

or to a procedure, because the procedure necessarily encompasses the speech. Stated

differently, according to the State, “medical options counseling” is conduct, not

speech.

       There’s support for this type of reading. (In the near future, the Supreme

Court might have something to say about this type of reading.)                In Tingley v.

Ferguson, the Ninth Circuit considered whether conversion therapy 15 constituted

conduct or speech. 47 F.4th 1055. The therapist-plaintiff alleged that Washington’s

ban on the practice violated his free speech rights. But citing its pre-Becerra decision

in Pickup v. Brown, 740 F. 3d 1208 (2014) the Ninth Circuit held that the therapy

constituted conduct and therefore didn’t implicate the First Amendment’s free speech

clause. 740 F.3d at 1221. The Tingley court reasoned that the therapy wasn’t any

less of a medical treatment “merely because [the treatment is] implemented through

speech rather than conduct.” See also Chiles v. Salazar, 116 F. 4th 1178, 1203–09

(10th Cir. 2024) (cert. granted, No. 24-539, 2025 U.S. LEXIS 1025 (Mar. 10, 2025))

(upholding a district court’s preliminary injunction finding talk therapy a “medical

treatment,” and therefore “conduct.”).



15 “Within the field of psychology, conversion therapy is also known as ‘reparative therapy’

or ‘sexual orientation and gender identity change efforts.” 47 F.4th at 1064. Conversion
therapy employs counseling and psychotherapy.
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      But not all circuit courts are on board. The Eleventh Circuit, in Otto v. City of

Boca Raton, Florida, held that conversion therapy constituted speech. 981 F.3d 854.

States couldn’t regulate that speech, the Otto court held, by relabeling it “conduct.”

Id. at 861. The court recognized that it wasn’t “entirely wrong” to characterize

speech-based therapy as a “course of conduct.” But the Otto court stressed that what

the enacting governments called a “medical procedure” actually “consist[ed]—

entirely—of words.” Id. at 865. So, the Eleventh Circuit concluded that the First

Amendment applied to therapy regulations.

      The State says Otto doesn’t apply. In its view, Otto didn’t involve a “physician

disclosure law of the kind at issue in Casey and Rokita, which require[d] providers to

disclose certain information in connection with the provision of healthcare services.”

NIFLA dkt. 275 at 23. According to the State, “Casey and Rokita make clear that

giving patients full information to make medical decisions is part of the ‘practice of

medicine, subject to reasonable licensing and regulation by the state.’” Id. (citing

Casey, 505 U.S. at 884)). As explained above, the Court disagrees with the State’s

reading, because it largely ignores Becerra and sidesteps important language in

Rokita. The State must either establish that it’s solely regulating conduct (without

implicating any speech) or otherwise demonstrate that the speech is incidental.

Though Otto’s holding doesn’t help the State demonstrate that therapy is fully

conduct, Tingley’s and Salazar’s could.

      But beyond its appearance in a string cite, the State didn’t rely on either case.

Absent further briefing, the Court isn’t willing to say categorically whether all



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counseling/therapy constitutes speech or conduct. The Court only concludes that the

State hasn’t persuaded the Court to adopt Tingley/Salazar’s reasoning over Otto’s.

So, the Court can’t find that the Pregnancy Centers’ “medical options counseling”

qualifies as a “medical procedure” for purposes of the Casey/Becerra/Rokita doctrine.

And because it’s not a “procedure,” it doesn’t trigger an informed consent analysis. 16

Non-Informed Consent Analysis

         Concluding that Section 6.1(1) isn’t an informed consent provision, the Court

considers whether it’s nevertheless incidental to some conduct. Rokita underscored

that a state action need not qualify as an informed consent provision to be

“incidental.” So, for example, unlike an informed consent statute, compelled speech

could follow a procedure or not need to be provided by the rendering physician at all.

If the state is regulating a specific course of conduct, it has leeway to implicate

directly related speech.

         However, stretching Rokita too far ultimately reverts to a Casey-only world,

one in which the state may regulate the amorphous “practice of medicine.” Becerra

limited the universe in which Casey applied, barring disclosures even when they

appeared in the pregnancy center’s waiting room. It’s true that the disclosure doesn’t

have to qualify as an informed consent statute, but there isn’t much space between

constitutional informed consent provisions and Becerra’s unconstitutional compelled



16
  The Court applies strict scrutiny, because Section 6.1(1) is content-based, and not
incidental to any recognized medical procedure. What’s more, Section 6.1(1) isn’t entitled to
Zauderer deference. So, the Court doesn’t see a doctrinal avenue to apply something like
intermediate scrutiny. However, the Court notes that Section 6.1(1) would fail
intermediate scrutiny on fit, for the reasons discussed below.
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materials. The Court finds that Section 6.1(1) doesn’t squeeze through that narrow

path.

        Rokita involved a statute regulating the disposal of fetal remains. To that end,

after an abortion, a woman could choose to take possession of the fetus or the provider

could dispose of it consistent with the statute. Rokita, 54 F.4th at 519. So, the

provider necessarily had to determine which route the woman wanted to take. This

was a binary decision. No discussion was required, let alone the thorough discussion

the State contends Public Act 99-690 mandates. What’s more, the provider had to

speak by asking this question. It didn’t otherwise compel any discussion, such as the

provider informing the woman of the risks and benefits of each option. Id. There was

a proximate relationship, both temporally and substantively, between the disclosures

in Rokita and the medical conduct. 17 Contrastingly, Section 6.1(1) demands a wide-

ranging, hypothetical conversation unrelated to any procedure or other medical

conduct. Indeed, Section 6.1(1) requires a wide-ranging conversation that might be

completely divorced from the reality of the situation; for example, the thrilled patient

who is not reasonably likely to encounter medical difficulties because of the

pregnancy. What’s more, that compelled speech isn’t necessary to further future

conduct. Any link under those circumstances is far too attenuated to satisfy Becerra

or Rokita. Finding Section 6.1(1) not incidental to conduct, the Court must apply

strict scrutiny.




17 Similarly, as discussed below, Section 6.1(3) tethers any cognizable speech to specific

conduct.
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Strict Scrutiny Analysis

      When a government restricts or requires speech based on content or viewpoint,

the government action must survive strict scrutiny analysis. Reed, 576 U.S. at 171.

Under this standard, the government must prove that the restrictions or required

speech not only furthers a compelling interest but also that they do so in a narrowly

tailored way to achieve that goal.      Id.    Restrictions that are underinclusive or

overinclusive are not narrowly tailored. Indeed, to be narrowly tailored, the action

must eliminate “no more than the exact source of the ‘evil’ it seeks to remedy.” Frisby

v. Schultz, 487 U.S. 474, 485 (1988).

      The State argues that it has a compelling interest in ensuring that conscience-

based objections don’t impair patients’ health. See 745 ILCS § 70/6.1. To that end,

the State asserts, it must demand that patients “receive accurate, timely information

about their treatment options necessary to make autonomous medical choices, as well

as reliable information about other providers who offer the care they have chosen.”

NIFLA dkt. 275 at 21. The Plaintiffs argue that’s not a compelling interest because

there’s no evidence patients lack any information. NIFLA dkt. 282 at 13.

       “[T]here can be no doubt,” the Supreme Court has said, that “the government

‘has an interest in protecting the integrity and ethics of the medical profession.’”

Gonzales v. Carhart, 550 U.S. 124, 157 (2007) (quoting Wash. v. Glucksberg, 521 U.S.

702, 731 (1997) (citing Barsky v. Bd. of Regents of Univ. of N.Y., 347 U.S. 442, 451

(1954) (noting that a state has “a legitimate concern for maintaining high standards

of professional conduct”)). The Court will assume, without deciding, that the State



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has a compelling government interest, despite the State’s failure to affirmatively

produce evidence at trial on this requirement.

       But Section 6.1(1) fails strict scrutiny because it’s fatally overbroad. Section

6.1(1) requires compliance consistent with the “standard of care.”               Perhaps it’s

possible—after the fact—to discern the standard of care in a particular interaction.

Those after-the-fact determinations occur continually in civil trials across Illinois.

But testimony established that, prospectively, it’s essentially indefinable. Indeed,

the State admitted that “full explanation of all treatment options and the risks and

benefits isn’t required by the standard of care in every situation.” Trial Tr. 661:17–

20. Even assuming that, in some non-medically necessary cases, the “standard of

care” would require a benefits discussion, the Pregnancy Centers have little guidance

on what those situations look like. So, in every situation they’ll either risk potential

liability or utter compelled speech without furthering any interest. Under strict

scrutiny, the State carries the burden of establishing the provision is narrowly

tailored; it falls far short in this case. 18 So, Section 6.1(3) unconstitutionally compels

speech, and therefore the State can’t demand such speech in exchange for a liability

shield.

       B)         Section 6.1(3)

       The Plaintiffs also challenge Section 6.1(3) on First Amendment Free Speech

grounds. This Section requires covered providers to transfer, refer, or tender, upon



18 Because the Court finds that Section 6.1(1) compels speech even when it furthers no

interest, the Court doesn’t assess the Plaintiffs’ argument that it’s also underinclusive
because it applies to those with conscience objections.
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request, a list of medical providers that they reasonably believe will provide abortion

services. The Court ultimately concludes that Section 6.1(3) doesn’t implicate speech,

so it doesn’t violate the Free Speech Clause, either facially or as applied to the

Plaintiffs. Section 6.1(3) provides:

             If requested by the patient or the legal representative of
             the patient, the health care facility, physician, or health
             care personnel shall: (i) refer the patient to, or (ii) transfer
             the patient to, or; (iii) provide in writing information to the
             patient about other health care providers who they
             reasonably believe may offer the health care service the
             health care facility, physician, or health personnel refuses
             to permit, perform, or participate in because of a
             conscience-based objection.

      Whereas Section 6.1(1) requires health care professionals to say something to

obtain immunity from civil or criminal liability, Section 6.1(3) explains what covered

people and entities must do to earn immunity after the triggering event occurs: refer,

transfer, or provide written information.       As discussed more below, those three

options are all conduct; none of them cognizably implicate speech.

      Nor do the Pregnancy Centers engage in inherently expressive activities. The

Court understands that the Plaintiffs run these Pregnancy Centers for the very sake

of communicating pro-life messages. But conduct doesn’t become expressive merely

because the person engaged therein intended to express an idea. United States v.

O’Brien, 391 U.S. 367, 376 (1968).       Juxtapose the line of cases extending First

Amendment protections to inherently expressive conduct—such as dancing, flag

burning, or web-design—with a doctor referring a patient to physical therapy.




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Stripped of its controversy, the difference is easy to see. Actions like transfers,

referrals, or listing potential alternatives aren’t inherently creative processes.

         Further, the State grants conscientious objectors three different avenues to

immunity. In lieu of referring the patient, a health care provider may “transfer the

patient” to another facility or provide information about “other health care providers

who they reasonably believe may offer” the unavailable service. § 6.1(3)(iii) (emphasis

added). Most obviously, the option to transfer a patient doesn’t implicate speech. 19

         When viewed through the lens of common sense, the Court has no trouble

concluding that Section 6.1(3) doesn’t implicate protected First Amendment

activities. But, in reaching this holding, the Court also relies on trial testimony,

persuasive precedent, analogies, common usage of the terms, and legal and medical

dictionaries.    The Court first acknowledges the uncontested fact that the State

intended for Section 6.1(3) to facilitate the provision of medical services.               This

provision narrowly applies when a patient expressly asks a medical provider for

information regarding potential abortion providers. Stated differently, Section 6.1(3)

contains an explicit and mandatory trigger that is directly linked to the action. And

even then, the provider need only comply if he intends to use the HCRCA as an

affirmative defense.

         From this narrow and purposeful drafting, the Court deduces that Section

6.1(3) doesn’t target speech. And dictionary definitions compel the same conclusion.



19
  The Court gives slightly more attention to the referral option because that’s what the
Parties emphasized. However, Section 6.1(3) provides three options, and all three are
conduct.
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For example, The National Cancer Institute defines “referral” as an act. Referral,

Nat. cancer. Inst. (“In medicine, the act of sending from one health care provider to

another . . . .”). Black’s Law Dictionary defines the term similarly as “[t]he act . . . of

sending or directing to another for information, service, consideration, or decision.”

Referral, Black’s Law Dictionary (12th ed. 2024) (emphasis added).

      What’s more, courts around the country have expressly stated that medical

providers engage in pure conduct when writing prescriptions. 360 Virtual Drone

Servs. LLC v. Ritter, 102 F.4th 263, 274 (4th Cir. 2024); Kory v. Bonta, No. 24-cv-

00001, 2024 U.S. Dist. LEXIS 73845, *11. As with prescriptions, the “key component”

of a medical referral is the provision of treatment. Kory, 2024 U.S. Dist. LEXIS

73845, *11 (quoting Nat’l Ass’n for the Advancement of Psychoanalysis v. Cal. Bd. of

Psych., 228 F.3d 1043, 1046 (9th Cir. 2000). Prescriptions and referrals are both

standard responsibilities among health care providers.         They serve clinical—not

expressive—goals. Again, contrast the goals of doctors with the goals of dancers. As

this analogy shows, referrals aren’t protected First Amendment activities.

      There’s also a trump card for this analysis. The Court finds clear guidance in

the Seventh Circuit’s decision in K.C. v. Individual Members of Med. Licensing Bd. of

Indiana, 121 F.4th 604, 629 (7th Cir. 2024). At the heart of K.C. were several First

Amendment challenges to SEA 480: an Indiana statute banning health care

professionals from providing, discussing, or referring minor patients for gender

conversion therapy. Indiana and Illinois’ referral provisions are two halves of the

same whole; one state restricts medical referrals for controversial procedures,



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whereas another state requires them. The Seventh Circuit ultimately resolved the

First Amendment issues in K.C. on other grounds. But, importantly, it reversed the

lower court’s holding that SEA 480 burdens speech “on its face or in its practical

operation.” Id. (citing Sorrell v. IMS Health Inc., 564 U.S. 552, 567 (2011). To the

contrary, the Seventh Circuit suggested that restrictions on referrals are valid

regulations of professional conduct. Id.

      As the K.C. court explained, “SEA 480’s secondary liability provision burdens

speech incidentally because it targets conduct: facilitating the provision of gender

transition procedures.” Id. This logic applies with full force to statutes targeting

referrals for any other medical procedure. “After all, in the law, what is sauce for the

goose is normally sauce for the gander.” Heffernan v. City of Paterson, 578 U.S. 266,

273 (2016). The First Amendment certainly doesn’t discriminate between topics of

protected speech. Otto, 981 F.3d at 871 (11th Cir. 2020). So, if SEA 480’s heavy

restrictions on referrals for controversial medical treatment stand, so can their mirror

image. See id.

      K.C. and the additional cited authorities compel the Court’s conclusion that

medical referrals—and so certainly potential resource lists or transfers—are pure

conduct, subject to reasonable state regulation. The Plaintiffs disagree. In their view,

Public Act 99-690 is subject to strict scrutiny in its entirety because the practice of

medicine necessarily implicates speech.     Though it’s true a few words are often

necessary to carry out a course of conduct, words don’t automatically turn the conduct

into speech. Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 502 (1949). Consider,



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for example, the hypothetical in Schneiderman, where, by adopting economic

regulations, a state incidentally regulates merchants’ speech:

              [A New York statute preventing credit card surcharges] is
              not like a typical price regulation. Such a regulation—for
              example, a law requiring all New York delis to charge $10
              for their sandwiches—would simply regulate the amount
              that a store could collect. In other words, it would regulate
              the sandwich seller's conduct. To be sure, in order to
              actually collect that money, a store would likely have to put
              “$10” on its menus or have its employees tell customers
              that price. Those written or oral communications would be
              speech, and the law—by determining the amount
              charged—would indirectly dictate the content of that
              speech. But the law's effect on speech would be only
              incidental to its primary effect on conduct, and “it has
              never been deemed an abridgment of freedom of speech or
              press to make a course of conduct illegal merely because
              the conduct was in part initiated, evidenced, or carried out
              by means of language, either spoken, written, or printed.”
              Expressions Hair Design v. Schneiderman, 581 U.S. 37, 47
              (2017) (quoting Giboney v. Empire Storage & Ice Co., 336
              U.S. 490, 502 (1949)).

       Similarly, minimum wage laws don’t implicate speech just because they

require a supervisor to write a certain number on the check. 20 In these hypotheticals,

as in this case, speech is a means to an end. Each regulation holds conduct at its

core; limitations on employee speech are only a necessary means of enforcing

compliance with the central regulatory scheme. In short, it’s not enough to show that

Public Act 99-690 implicates the First Amendment broadly. Given the option of

severability, the Plaintiffs must show that this section, standing alone, abridges the



20 Contrastingly, minimum wage laws would implicate the First Amendment if they

compelled the supervisor to discuss the benefits and downsides of paying certain salaries.
That’s the difference between Sections 6.1(1) and Section 6.1(3).
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covered health care providers’ rights not to speak. They haven’t done so. Section

6.1(3) is a wholesale regulation of professional conduct with no cognizable

downstream effects on speech.

       Even if the Court took the Plaintiffs at their word that Section 6.1(3)

incidentally restricts some cognizable amount of speech, this Section would still be

constitutional. As explained at length already, Becerra, Rokita, and its progeny allow

states to regulate speech incidental to professional conduct, even beyond drafting

informed consent disclosures. 21 Otto, 981 F.3d at 865; 360 Virtual Drone Servs. LLC,

102 F.4th at 273. In this case, the necessary speech—either writing a list or drafting

a referral—bears a direct nexus to the underlying conduct that’s necessarily

effectuated by speaking or writing.

       Ironically, though, the impact on speech is also incidental. The State’s only

goal in regulating things like referrals is to facilitate patients’ access to their

preferred medical treatment.         The State doesn’t intend to control the flow of

discussion between doctors and patients—nor could it, for that matter. 22 Nothing in

the HCRCA restricts the Plaintiffs’ rights to express their own opinions, especially

now that the Court finds Section 6.1(1) unconstitutional.



21 No doubt, Section 6.1(3) isn’t an informed consent requirement.   Medical referrals only
take place after an ultrasound or options counseling (that is, once the patient has confirmed
that she is pregnant and decided what to do about it), and a referral isn’t directly linked to
either qualifying “procedure.” The Court’s analysis here essentially duplicates the
discussion of Section 6.1(1) as an informed-consent requirement.
22 Contrastingly, the benefits discussion in Section 6.1(1) wholly regulates the exchange of

information between providers and patients. In that scenario, the State takes the drivers’
seat in deciding which ideas should factor into a woman’s decision to have an abortion. In
this one, the State exercises its police powers to facilitate a woman’s choice only after she’s
decided for herself.
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      The Court understands the Plaintiffs’ position that, while complying with

Section 6.1(3), they are required to effectively endorse a course of conduct they find

morally abhorrent. That’s more of a Free Exercise issue, discussed below. But, in

any event, if the Plaintiffs are unhappy with this legislation, “the remedy to be

applied is more speech.” United States v. Alvarez, 567 U.S. 709, 727–28 (2012)

(quoting Justice Brandeis’ concurrence in Whitney v. California, 274 U.S. 357, 377

(1927)). When meeting the requirements of Section 6.1(3), covered providers may

rearticulate their stance on abortion or explain that their conduct is required by the

State. Many will. Section 6.1(3) establishes a floor, not a ceiling, of information that

must be provided to patients. So, Section 6.1(3) doesn’t offend the Plaintiffs’ rights

not to speak; it’s simply a valid exercise of the State’s police powers to improve

citizens’ access to health care by regulating professional conduct. Consequently, the

State may require such conduct in exchange for the HCRCA’s liability shield.

Free Exercise Claim

      Because the Court found Section 6.1(3) constitutional on Free Speech grounds,

it now considers the Plaintiffs’ contention that this Section violates the Free Exercise

Clause. The Court recognizes that the peculiar circumstances presented by the facts,

the HCRCA, and Public Act 99-690 put it in uncharted waters. As explained earlier,

supra Part I(C), Public Act 99-690 arises in a unique statutory scheme; it works

alongside the HCRCA to “respect and protect the right of conscience” for all heath

care providers. 745 ILCS 70/2. The initial version of the HCRCA (now, almost fifty

years old) protects conscientious objectors from all liability resulting from their



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“refus[al] to act contrary to their conscience.” Id. 23 But after collecting evidence—

albeit minimal—that the HCRCA was too strong of a shield, in 2015, the General

Assembly amended the HCRCA via Public Act 99-690. This statutory context guides

the following discussion of the Plaintiffs’ Free Exercise claims.

       The Free Exercise Clause of the First Amendment, as applied to the states

through the Fourteenth, provides that “Congress shall make no law respecting an

establishment of religion, or prohibiting the free exercise thereof . . . .” U.S. Const.

amend. I. Again, the Plaintiffs argue that Section 6.1(3) imposes unconstitutional

conditions on their receipt of a public benefit. The Parties agree that the Plaintiffs

have a sincere religious practice in refraining from facilitating abortions. NIFLA dkt.

275-2 at 4–5. The trial testimony confirmed this agreement beyond doubt. To end

the analysis here, however, “would be to make the professed doctrines of religious

belief superior to the law of the land, and in effect to permit every citizen to become

a law unto himself.” Reynolds v. United States, 98 U.S. 145, 167 (1878).

       The Court has “never held that an individual’s religious beliefs excuse him

from compliance with an otherwise valid law prohibiting conduct that the State is

free to regulate.” Emp. Div., Dep’t of Hum. Res. of Oregon v. Smith, 494 U.S. 872, 879

(1990). Instead, courts determine the appropriate level of scrutiny by asking if a

challenged regulation “targets religious conduct for distinctive treatment or advances

legitimate    governmental   interests   only   against   conduct   with      a   religious

motivation . . . .” Church of Lukumi Babalu Aye, Inc. v. City of Hialeah., 508 U.S.


23 Note, this part of the HCRCA has remained unchanged since its enactment.   See P.A. 80-
616 § 2; P.A. 90-246 § 5.
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520, 531 (1993).      Laws that “single out” religious conduct for discriminatory

treatment are subject to strict scrutiny. Espinoza v. Montana Dep’t of Revenue, 591

U.S. 464, 483 (2020) (quoting Trinity Lutheran Church of Columbia, Inc. v. Comer,

582 U.S. 449, 479 (2017) (Kagan, J., dissenting) (cleaned up). A “neutral law of

general applicability,” on the other hand, triggers rationality review, “even if [it has]

the incidental effect of burdening a particular religious practice.” Lukumi, 508 U.S.

at 531.

       To avoid burying the lede, the State correctly argues that Public Act 99-690 is

a neutral law of general applicability. These “interrelated” requirements forbid the

government from selectively imposing burdens only on conduct motivated by religious

belief—partly by asking whether “the object of the law is to infringe upon or restrict

practices because of their religious motivation.” Id. at 531, 533; Listecki v. Off. Comm.

of Unsecured Creditors, 780 F.3d 731, 743 (7th Cir. 2015). Public Act 99-690 does no

such thing.

       Ordinarily, “[t]he minimum requirement of neutrality is that a law not

discriminate on its face. A law lacks facial neutrality if it refers to a religious practice

without a secular meaning discernable from the language or context.” Lukumi, 508

U.S. 520, 546 (1993). But, for the reasons already given, Section 6.1(3) doesn’t fit

neatly into the Free Exercise doctrine. Unlike the “historical instances of religious

persecution and intolerance that gave concern to those who drafted the Free Exercise

Clause,” Bowen v. Roy, 476 U.S. 693, 703 (1986), Public Act 99-690 and the HCRCA

expand conscientious objectors’ rights to the free exercise of religion by immunizing



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them from liability. This context is important. See In re Sinclair, 870 F.2d 1340,

1342 (7th Cir. 1989). “Considering the Act in isolation, as Plaintiffs insist the [C]ourt

should, would mean that religious exemptions are a one-way ratchet: once extended,

they could never be narrowed or abolished without violating the Free Exercise Clause

because religious accommodations are, by their very nature, neither neutral nor

generally applicable.” NIFLA dkt. 176 at 35.

       The Court wholeheartedly agrees with Judge Pallmeyer’s discussion “about

what law is the proper subject of analysis.” Id. at 34. As she explained, the proper

question is whether Public Act 99-690 and the HCRCA subject conscientious objectors

to “unequal treatment” by imposing additional burdens on conscientious objectors

over secular providers. Lukumi, 508 U.S. at 542 (quoting Hobbie v. Unemployment

Appeals Comm’n of Fla., 480 U.S. 136, 148 (1987) (Stevens, J., concurring)). Judge

Pallmeyer hoped that the statewide “standard of care” may be dispositive; if Public

Act 99-690 doesn’t impose additional burdens on conscientious objectors, she

reasoned, the Amendments must be neutral and generally applicable. NIFLA dkt.

176 at 20.     As noted earlier, however, trial testimony made it impossible to

prospectively and abstractly establish the standard of care for all providers in all

circumstances. 24 Supra Part II(B). And, again, that conclusion is unsurprising given




24 Importantly, the Court doesn’t decide whether the standards of care do or don’t match

Section 6.1(3)’s provisions. It’s possible that a conscientious objector might fail to comply
with Section 6.1(3) and still satisfy the standard of care. As explained more later, the Court
only concludes that the Plaintiffs can be called to court to make such a showing, as could
anyone else.
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that standard of care determinations are specific to the circumstances presented to

the health care professional. See Edelin, 510 N.E.2d at 962.

       So, this Court takes a different route, starting with a hypothetical from before

the HCRCA: Two providers—one a conscientious objector and the other secular—both

fail to provide a woman with requested information about abortion providers. The

conscientious objector refuses because of his sincerely held beliefs.          The secular

provider doesn’t provide the requested information because he’s too busy. Both

patients sue. Before the HCRCA, both suits could’ve gone forward, requiring the

plaintiff in both cases to show that the health care providers fell below the standard

of care. 25 After the HCRCA’s enactment, the conscientious objector—but not the

secular provider—is wholly protected, regardless of whether the provider’s actions

fell below the standard of care.

       Along comes Public Act 99-690—partially restoring the pre-HCRCA universe.

Now, as before, all health care providers are amenable to suit for failure to refer,

transfer, or provide written information about potential abortion providers. Relative

to each other, the secular provider isn’t in any better position than before the HCRCA

and the conscientious objector isn’t any worse for the wear.




25 As Judge Pallmeyer explained, there’s no indication that the pre-HCRCA liability regime

wasn’t neutral and generally applicable. Put differently, absent the HCRCA, it’s not
necessarily unconstitutional to sue a doctor who didn’t meet the standard of care because of
her conscientious objection. In any event, the Amendments don’t ban any other affirmative
defenses.
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       As this hypothetical shows, the latest Amendments to the HCRCA don’t impose

additional burdens on conscientious objectors because of their beliefs. 26 It’s true that

conscientious objectors can no longer rely on the HCRCA’s once-expansive immunity.

But as discussed previously, conscientious objectors were never constitutionally

entitled to those benefits. NIFLA dkt. 176 at 35. The General Assembly was formerly

inclined to offer an optional shield and now it isn’t. It’s not the Court’s place to

second-guess the wisdom of that decision. Grand Trunk W. Ry. Co. v. Indus. Comm’n,

291 Ill. 167, 172 (1919).

       In a further attempt to bind the General Assembly to its own generosity, the

Plaintiffs suggest that the State passed Public Act 99-690 at least partially “because

of’” its adverse effect on religious activities. Personnel Administrator of Mass. v.

Feeney, 442 U.S. 256, 279, n. 24 (1979). They don’t support that argument with any

evidence of legislative malintent. Compare Lukumi, 508 U.S. at 540 (challenged city

ordinances were designed to prevent religious activities because city councilmembers

viewed the religion as “a sin, ‘foolishness,’ ‘an abomination to the Lord,’ and the

worship of ‘demons’”) with S.B 1564, 99th Gen. Assemb. 2d Sess. (Ill. 2015) (Public

Act 99-690 is designed to ensure that the HCRCA doesn’t frustrate women’s access to

health care). Even if Public Act 99-690 has discriminatory effects in operation,

“[a]dverse impact will not always lead to a finding of impermissible targeting.”



26 For the mathematically inclined lawyer (if one exists): 0 [what the two providers had pre-
HCRCA] + 1 [what the conscientious objector had after the HCRCA] – 1 [what the provider
has after P.A. 99-690] = 0. So, the two are once again on equal footing. (In fact, that
oversimplifies it because the conscientious objector, unlike the secular provider earns
absolute immunity after complying with Section 6.1(3)).
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Lukumi, 508 U.S. at 535. 27 “The law’s text and history . . . suggest instead that the

legislature adopted the changes due to legitimate concerns about patient access to

healthcare and not out of a desire to stifle religiously-motivated conduct.” NIFLA

dkt. 176 at 38.     So, under the circumstances, Public Act 99-690 is neutral and

generally applicable.

       Finally, the Plaintiffs urge the Court to apply heightened scrutiny on a “hybrid

rights” theory. NIFLA dkt. 282 at 9–10. “In Smith, the Supreme Court noted that,

in cases implicating the Free Exercise Clause in conjunction with other constitutional

protections, such as freedom of speech . . . the First Amendment” may require courts

to apply strict scrutiny even to neutral, generally applicable laws. C.L. for Urb.

Believers v. City of Chicago, 342 F.3d 752, 764 (7th Cir. 2007) (citing Smith, 494 U.S.

at 881–82). Though a plaintiff doesn’t need to succeed on another First Amendment

claim, he “does not allege a hybrid rights claim entitled to strict scrutiny analysis

merely by combining a free exercise claim with an utterly meritless claim of the

violation of another alleged fundamental right.” Id. at 765 (quoting Miller v. Reed,

176 F.3d 1202, 1207–08 (9th Cir. 1999)).


       The doctrine rests on a teetering foundation. As Judge Pallmeyer noted, it

“originates in [Smith’s] dictum.” NIFLA dkt. 176 at 36. And it’s “hard” to “justif[y]




27 Likewise, the Plaintiffs didn’t produce any evidence that Section 6.1(3) “prohibits

religious conduct while permitting secular conduct that undermines the government’s
asserted interests in a similar way.” Fulton v. City of Philadelphia, Pennsylvania, 593 U.S.
522, 534 (2021). Depending on the standard of care, health care providers may be liable if
they unreasonably delay a woman’s access to abortion by failing to transfer, refer, or
provide her with written information for any reason.
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the curious [hybrid rights] doctrine,” some circuits essentially abandoning it entirely.

Fulton, 593 U.S. at 599, 604 (2021) (Alito, J., concurring); see also Henderson v.

Kennedy, 253 F.3d 12, 19 (D.C. Cir. 2001) (“For this argument to prevail, one would

have to conclude that although the regulation does not violate the Free Exercise

Clause, and although they have no viable First Amendment claim against the

regulation, the combination of two untenable claims equals a tenable one. But in law

as in mathematics zero plus zero equals zero.” (citations omitted.)). “Telling[ly],” the

Supreme Court “has never once accepted a ‘hybrid rights’ claim in the more than

three decades since [Smith].” Fulton, 593 U.S. at 600. The Seventh Circuit similarly

rejected hybrid rights theories in the two cases that considered them. See Ill. Bible

Coll. Assoc. v. Anderson, 631, 641 (7th Cir. 2017); Civil Liberties, 342 F.3d at 764–65;

see also Maum Meditation House of Truth v. Lake County, Ill., 55 F.3d 1081, 1088

(N.D. Ill. 2014) (rejecting application); Mahwikizi v. Ctr. for Control & Prevention,

573 F. Supp. 3d 1245, 1253 (N.D. Ill. 2021) (same).


      In any event, the Seventh Circuit seems to follow the Ninth in requiring, at

minimum, a summary judgment level showing on the non-Free Exercise claim. See

C.L for Urb. Believers, 342 F.3d at 765 (rejecting a hybrid rights theory because it

“f[oun]d [the other claims] individually lacking the merit necessary to withstand

summary judgment”). As to Section 6.1(3), the Plaintiffs’ weak Free Speech claims

fall short of the summary judgment standard, because the provisions only regulate

conduct. The Court found a Free Speech violation in Section 6.1(1), but it severed the

sections and assessed the two individually. It won’t now resew them with a tenuous


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doctrinal thread. So, the Court doesn’t believe the hybrid rights doctrine compels it

to apply strict scrutiny to Section 6.1(3).


Rational Basis Analysis

      Having reached the end of a long front walk, see Steel Co. v. Citizens for a Better

Env’t., 523 U.S. 83, 102 (1998), the Court finds that Section 6.1(3) triggers (and

withstands) rational-basis review.      Under this test, a court “need only find a

reasonably conceivable state of facts that could provide a rational basis for the

classification.” Ind. Petroleum Marketers & Convenience Store Ass’n v. Cook, 808 F.3d

318, 322 (7th Cir. 2015); Lukaszczyk v. Cook Cnty., 47 F.4th 587, 602–03 (7th Cir.

2022) (collecting cases). This isn’t an onerous test. The law comes to court bearing a

strong presumption of validity, and the challengers must negate every conceivable

basis which might support it. Ind. Petroleum Marketers & Convenience Store Ass’n.,

808 F.3d at 322.

      Conceivably, the State has a legitimate interest in facilitating abortions

provided by health care professionals to reduce the number of “self-managed

abortions” or “self-induced abortions,” which are inherently dangerous. Requiring

the Plaintiffs to provide the requested information is a rational means of meeting

that goal. So, Section 6.1(3) doesn’t offend the Free Exercise Clause of the First

Amendment.

CONCLUSION

      Based on these findings of fact and conclusions of law, the Court holds that

Section 6.1(1) violates the First Amendment’s Free Speech Clause, but that Section


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6.1(3) is constitutional. So, the Court grants Plaintiff’s request for declaratory and

permanent injunctive relief as to Section 6.1(1), finding this provision of Public Act

99-690 is unconstitutional and cannot be enforced. It denies the Plaintiffs’ Motion as

to Section 6.1(3).



Entered: April 4, 2025                              By:_________________________
                                                    Iain D. Johnston
                                                    United States District Judge




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